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Trial Exhibit                                               Type of Document/Bates              Objection
                   Date             Author/Source
     No.                                                              No.               (Authenticity/Admissibility)

                                                 Joint Exhibits

                                                                                        The Trusts object only to the
                                                              Title to Josiah Haines
                                                                                           initial letter and report
                               Percheron, LLC filed by       Warrant, Doc No. 97-1,
     J1                                                                                  through J1.007, as hearsay     admitted
                              Defendants to Doc No. 97-1     Bates Numbers 013587-
                                                                                            and improper opinion
                                                                      014201
                                                                                                   testimony
                                                                  PGC TITLE
     J2                                    PGC                  ABSTRACT L-2                 Admitted
                                                                   Contract
                 6/5/1893;    Bradford County Recorder's     Schrader Mining and
                 recorded               Office                 Manufacturing to
     J3                                                                                    Admitted
                 7/6/1893                                   Proctor & Hill Deed (DB
                                                                    197/270)
                10/27/1894;   Bradford County Recorder's     Proctor & Hill - Union
     J4          recorded               Office                 Tanning Deed (DB               Admitted
                 1/23/1895                                          205/436)
                  5/5/1903    Bradford County Recorder's    Union Tanning - CPLC
     J5                                                                                    Admitted
                                        Office                 Deed (DB 251/520)
                12/20/1920;   Bradford County Recorder's    CPLC - Commonwealth
     J6          recorded               Office                 Deed (DB 342/376)           Admitted
                 4/29/1921
                12/30/1924    Bradford County Recorder's      Elk Tanning - CPLC
     J7                                                                                    Admitted
                                        Office                 Deed (DB 355/165)
                                                            Exhibit 3, Part One, List
                               Bradford County filed by      of Unseated Lands and
     J8                                                                                    Admitted
                              Defendants to Doc No. 99-1    Taxes Bradford County
                                                                   1890-1895



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Trial Exhibit                                                  Type of Document/Bates               Objection
                    Date               Author/Source
     No.                                                                  No.               (Authenticity/Admissibility)
                                                               Exhibit 3, Part 2, List of
                                  Bradford County filed by       Unseated Lands and
     J9                                                                                        Admitted
                                 Defendants to Doc. No.100-1   Taxes Bradford county,
                                                                      1896-1900
                                                               Exhibit 3, Part 3, List of
                                  Bradford County, filed by      Unseated Lands and
    J10                                                                                        Admitted
                                   Defendants to No. 101-1     Taxes Bradford County,
                                                                      1901-1905
                                                               Exhibit 3, Part 4, List of
                                  Bradford County, filed by      Unseated Lands and
    J11
                                  Defendants to No. 102-1      Taxes Bradford County,          Admitted
                                                                      1906-1908
                                                                 Newspaper filed by
                                 Filed by Defendants to Doc
    J12         April 9, 1908                                   Defendants to Do No.           Admitted
                                          No. 105-1
                                                                        105-1
                                                                 Newspaper filed by
                                 Filed by Defendants to Doc.                                   Admitted
    J13         April 16, 1908                                  Defendants to Doc. No.
                                          No. 105-2
                                                                        105-2
                                                                 Newspaper filed by
                                 Filed by Defendants to doc.
    J14         April 23, 1908                                  Defendants to Doc. No.        Admitted
                                          No. 105-3
                                                                        105-3
                                                                 Newspaper filed by
                                 Filed by Defendants to Doc.
    J15         April 30, 1908                                  Defendants to Doc. No.        Admitted
                                          No. 105-4
                                                                        105-4
                                                                 Newspaper filed by
                                 Filed by Defendants to Doc.
    J16         April 9, 1908                                   Defendants to Doc No.
                                          No. 105-5                                            Admitted
                                                                        105-5
                                                                 Newspaper filed by
                                 Filed by Defendants to Doc.
    J17         April 16, 1908                                  Defendants to Doc. No.        Admitted
                                          No. 105-6
                                                                        105-6


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Trial Exhibit                                                  Type of Document/Bates            Objection
                    Date               Author/Source
     No.                                                                 No.             (Authenticity/Admissibility)
                                                                 Newspaper filed by
                                 Filed by Defendants to Doc.                                Admitted
    J18         April 23, 1908                                  Defendants to Doc No.
                                          No. 106-1
                                                                        106-1
                                                                 Newspaper filed by
                                 Filed by Defendants to doc.
    J19         April 30, 1908                                  Defendants to Doc. No.      Admitted
                                          No. 106-2
                                                                        106-2
                                                                 Newspaper filed by
                                 Filed by Defendants to Doc.
    J20         May 7, 1908                                     Defendants to Doc. No.       Admitted
                                          No. 106-3
                                                                        106-3
                                                                 Newspaper filed by
                                 Filed by Defendants to Doc.
    J21         May 14, 1908                                    Defendants to Doc. No.      Admitted
                                          No. 106-4
                                                                        106-4
                                                                 Newspaper filed by
                                 Filed by Defendants to Doc.                                Admitted
    J22         May 21, 1908                                    Defendants to Doc. No.
                                          No. 106-5
                                                                        106-5
                                                                 Newspaper filed by
                                 Filed by Defendants to Doc.
    J23         May 28, 1908                                    Defendants to Doc. No.      Admitted
                                          No. 107-1
                                                                        107-1
                                                                 Newspaper filed by
                                 Filed by Defendants to Doc.                                 Admitted
    J24         June 4, 1908                                    Defendants to Doc. No.
                                          No. 107-2
                                                                        107-2
                                 Bradford County Recorder's    Treasurer's Deed Book
    J25                                                                                      Admitted
                                           Office                Volume 7 page 189
                  12/6/1910      Bradford County Recorder's       McCauley - CPLC
    J26                                    Office                Quitclaim Deed (DB         Admitted
                                                                       300/401)
                    1806                                        Act of March 28, 1806,      Admitted
    J27
                                                                       P.L. 644
                    1815                                        Act of March 13, 1815,
    J28                                                                                    Admitted
                                                                       P.L. 177


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Trial Exhibit                                            Type of Document/Bates           Objection
                    Date            Author/Source
     No.                                                           No.            (Authenticity/Admissibility)
                    1887                                   Act of June 6, 1887,
    J29
                                                                 P.L. 363
                July 15, 2020       Lauri Sekerak          Transcript of Lauri       The PGC objects to the
                                                           Sekerak Testimony      admissibility of the material
                                                                                   testified to by Deponent on    Admtted
                                                                                     relevance, materiality,
    J30
                                                                                    authenticity, and hearsay
                                                                                  grounds, and accordingly, to
                                                                                      some of the testimony.

                                     Gregory Gass         Transcript of Gregory      The PGC objects to the
                                                             Gass Testimony       admissibility of the material
                                                                                   testified to by Deponent on
                                                                                     relevance, materiality,      Admitted
    J31
                                                                                    authenticity, and hearsay
                                                                                  grounds, and accordingly, to
                                                                                      some of the testimony.

                                    Ann Hochberg           Transcript of Ann         The PGC objects to the
                                                          Hochberg Testimony      admissibility of the material
                                                                                                                  Admitted
                                                                                   testified to by Deponent on
                                                                                     relevance, materiality,
    J32
                                                                                    authenticity, and hearsay
                                                                                  grounds, and accordingly, to
                                                                                      some of the testimony.

                                                           Will of Thomas E.                                      Admitted
    J33
                                                                Proctor




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Trial Exhibit                                                 Type of Document/Bates             Objection
                     Date            Author/Source
     No.                                                                No.              (Authenticity/Admissibility)

                                                Plaintiff’s Exhibits

                                                                                            The Trusts object to the
                                                                  Declaration and
                                                                                           admission of the Wilkinson
                                                                Attachments filed by
     P1                              PGC Wilkinson                                       Declaration and attachments     Admitted
                                                                PGC 7/2/2018 at Doc.
                                                                                         for the reasons stated in ECF
                                                                     No. 122-1
                                                                                             Nos. 136, 137 and 145.
                                                                    PGC TITLE                 The Trusts object on       Admitted
  P2 (IN
                                         PGC                     ABSTRACT L-36               relevancy grounds and
REBUTTAL)
                                                                     (Excerpts)           improper opinion testimony
                January 2, 1905        Elk County                Certified Copy of
  P3 (IN
                                                               Marriage Application                                      Admitted
REBUTTAL)
                                                                  and Certificate
  P4 (IN         October 25,              PHT                  Letter from James H.
                                                                                                                         Admitted
REBUTTAL)           1907                                        Proctor to McCauley
  P5 (IN         October 15,              PHT                  Letter from James H.
                                                                                                                         Admitted
REBUTTAL)           1909                                        Proctor to McCauley
  P6 (In        December 22,              PHT                  Letter from James H.
REBUTTAL)           1910                                      Proctor to McCauley, Jr.                                   Admitted
  P7 (IN        April 20, 1911            PHT                   Letter from Willard
REBUTTAL)                                                     Dalrymple, attorney and
                                                                                                                         Admitted
                                                              trustee for T.E. Proctor
                                                              Estate, to McCauley, Jr.
   P8 (In       January 8, 1912           PHT                  Letter from James H.
                                                                                                                         Admitted
REBUTTAL)                                                     Proctor to McCauley, Jr.
   P9 (In         October 23,             PHT                  Letter from James H.
                                                                                                                         Admitted
REBUUTAL)            1912                                     Proctor to McCauley, Jr.
  P10 (IN        December 19,             PHT                  Letter from James H.
                                                                                                                         Admitted
REBUTTAL)            1912                                     Proctor to McCauley, Jr.


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Trial Exhibit                                             Type of Document/Bates             Objection
                     Date            Author/Source
     No.                                                             No.             (Authenticity/Admissibility)
  P11 (IN       March 17, 1913            PHT              Letter from James H.                                     Admitted
REBUTTAL)                                                 Proctor to McCauley, Jr.
  P12 (IN       March 21, 1913            PHT              Letter from James H.
                                                                                                                    Admitted
REBUTTAL)                                                    Proctor to Spicer
  P13 (IN       April 10, 1913            PHT              Letter from James H.
REBUTTAL)                                                 Proctor to McCauley, Jr.                                  Admitted
  P14 (IN       April 14, 1913            PHT               Letter from Willard
REBUTTAL)                                                 Dalrymple, attorney and
                                                          trustee for T.E. Proctor                                  Admitted
                                                          Estate, to McCauley, Jr.
  P15 (IN        July 7, 1916             PHT              Letter from James H.
REBUTTAL)                                                 Proctor to McCauley, Jr.                                  Admitted
  P16 (IN        November 3,              PHT              Letter from James H.
                                                                                                                    Admitted
REBUTTAL)           1916                                  Proctor to McCauley, Jr.
  P17 (IN        February 2,              PHT               Letter from Willard
REBUTTAL)           1918                                  Dalrymple, attorney and
                                                          trustee for T.E. Proctor                                  Admitted
                                                          Estate, to McCauley, Jr.
  P18 (IN       August 17, 1920           PHT               Letter from Willard
REBUTTAL)                                                 Dalrymple, attorney and                                   Admitted
                                                          trustee for T.E. Proctor
                                                          Estate, to McCauley, Jr.
  P19 (IN       August 25, 1920           PHT               Letter from Willard
REBUTTAL)                                                 Dalrymple, attorney and
                                                                                                                    Admitted
                                                          trustee for T.E. Proctor
                                                          Estate, to McCauley, Jr.
  P20 (IN        September 8,             PHT               Letter from Willard
REBUTTAL)            1920                                 Dalrymple, attorney and
                                                          trustee for T.E. Proctor                                  Admitted
                                                          Estate, to McCauley, Jr.


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Trial Exhibit                                            Type of Document/Bates              Objection
                    Date            Author/Source
     No.                                                             No.             (Authenticity/Admissibility)
  P21 (IN       September 27,            PHT                Letter from Willard
REBUTTAL)           1920                                 Dalrymple, attorney and                                    Admitted
                                                          trustee for T.E Proctor
                                                         Estate, to McCauley, Jr.
  P22 (IN        October 15,             PHT             Letter from Thomas E.
REBUTTAL)           1920                                     Proctor Estate to                                      Admitted
                                                              McCauley, Jr.
  P23 (IN        October 15,             PHT                Letter from Willard
REBUTTAL)           1920                                 Dalrymple, attorney and
                                                                                                                    Admitted
                                                         trustee for T.E. Proctor
                                                         Estate, to McCauley, Jr.
  P24 (IN         Undated                PHT             Letter from Thomas E.
REBUTTAL)                                                    Proctor Estate to
                                                                                                                    Admitted
                                                              McCauley, Jr.
  P25 (IN        October 19,             PHT                Letter from Willard
REBUTTAL)           1920                                 Dalrymple, attorney and
                                                         trustee for T.E. Proctor                                   Admitted
                                                         Estate, to McCauley, Jr.
  P26 (IN       November 30,             PHT                Letter from Willard
REBUTTAL)           1920                                 Dalrymple, attorney and
                                                         trustee for T.E. Proctor                                   Admitted
                                                         Estate, to McCauley, Jr.
  P27 (IN       November 30,             PHT                Letter from Willard
REBUTTAL)           1920                                 Dalrymple, attorney and                                    Admitted
                                                         trustee for T.E. Proctor
                                                         Estate, to George R. Hill
  P28 (IN       December 8,              PHT                Letter from Willard
REBUTTAL)          1920                                  Dalrymple, attorney and
                                                                                                                    Admitted
                                                         trustee for T.E. Proctor
                                                         Estate, to McCauley, Jr.


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Trial Exhibit                                                     Type of Document/Bates             Objection
                     Date                 Author/Source
     No.                                                                     No.            (Authenticity/Admissibility)
                     1912               Lycoming County             Patent and Charter,        The Trusts object on
  P29 (IN                                                                                                                  Admitted
                                          Courthouse                  Rock Run Coal             relevancy grounds.
REBUTTAL)
                                                                         Company
                 December 21,          Green Free Library         The Agitator newspaper    The Trusts reserve the right
                     1910                                           article “Real Estate       to object on relevancy
  P30 (IN                                                                Transfers”         grounds depending upon the     Admitted
REBUTTAL)                                                                                      purpose for which this
                                                                                              document is sought to be
                                                                                                    introduced.
  P31 (IN       October 1, 2020                                   Declaration of Bryan G.
REBUTTAL)                                                                 Robinson                                         Admitted
                 May 10, 1907        PHT and Public library          Williamsport Sun       The Trusts reserve the right
                                           sources                 newspaper (pp. 1 & 5)       to object on relevancy
  P32 (IN                                                         articles “Big Land Case   grounds depending upon the     Admitted
REBUTTAL)                                                          Occupies Court” and        purpose for which these
                                                                   “Resolutions Passed”      documents are sought to be
                                                                                                     introduced.
                  October 14,        PA Department of State         Patent and Charter,         The Trusts object on
  P33 (IN                                                                                                                  Admitted
                     1912                                             Rock Run Coal              relevancy grounds.
REBUTTAL)
                                                                         Company
                 November 10,                                       Declaration of Kathy
    P34                                                                                                                    Admitted
                     2020                                                Mummert
                 September 12,                 PHT                   Draft Registration        The Trusts object on
    P35                                                                                                                    Admitted
                     1918                                                                       relevancy grounds.

                                                    Defendants’ Exhibits

                   1890-1930       Bradford County Historical        Leroy Township           Cumulative as info. is
                                            Society                  Assessment Book          reflected in Percheron       Admitted
     D1
                                                                         Excerpts           abstract at Trial Exhibit J1
                                                                                                  (Doc. No. 97-1)

P36 and P37 =ECF filing 214 and are also admitted           10
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Trial Exhibit                                              Type of Document/Bates                Objection
                  Date             Author/Source
     No.                                                             No.               (Authenticity/Admissibility)
                1890-1930    Bradford County Historical      Barclay Township          Irrelevant; Immaterial; and
                                      Society                 Assessment Book            PGC reserves the right to
                                                                  Excerpts                 object to admissibility
     D2                                                                                                                Admitted
                                                                                       depending upon the purpose
                                                                                        for which the materials are
                                                                                          sought to be introduced.
                1890-1930    Bradford County Historical      Overton Township          Irrelevant; Immaterial; and
                                      Society                Assessment Book             PGC reserves the right to
                                                                 Excerpts                  object to admissibility
     D3                                                                                                                Admitted
                                                                                       depending upon the purpose
                                                                                        for which the materials are
                                                                                          sought to be introduced.
                  1907       Pennsylvania State Archives   Gamble, et al. v. Central
                                                            Pennsylvania Lumber
     D4                                                     Company, et al., Paper        Irrelevant; Immaterial
                                                             Book of Appellants                                        Admitted
                                                              (ECF No. 103-3)
                1900-1915       PHT (ECF No. 130-2)        Proctor Estate letters to        Irrelevant; Immaterial;
                                                            Treasurers (ECF No.         Hearsay; and PGC reserves
                                                                   133-1)                     the right to object to
     D5                                                                                admissibility depending upon    Admitted
                                                                                          the purpose for which the
                                                                                          materials are sought to be
                                                                                                   introduced.
                1905-1909    Lycoming County Historical     McIntyre Township           Irrelevant; Immaterial; and
                              Society (Taber Museum)       Assessments (ECF No.           PGC reserves the right to
                                                              130-5- to 132-1)               object to admissibility   Admitted
     D6
                                                                                       depending upon the purpose
                                                                                         for which the materials are
                                                                                           sought to be introduced.


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Trial Exhibit                                              Type of Document/Bates             Objection
                  Date              Author/Source
     No.                                                             No.              (Authenticity/Admissibility)
                  2007            Commonwealth of            DCNR Oil and Gas
     D7                          Pennsylvania DCNR          Fields Map (ECF No.         Irrelevant; Immaterial       Admitted
                                                                    132-3)
                              Bradford County Historical   Seated Land Assessment     Irrelevant; Immaterial; and
                                       Society              Records (Ex. B to oral      PGC reserves the right to
                                                                  argument)               object to admissibility
     D8
                                                                                      depending upon the purpose     Admitted
                                                                                       for which the materials are
                                                                                         sought to be introduced.
                1897; 1917    Library of Congress; New     News Articles regarding
                                 York State Library;          Proctor-Hill Coal
                              Bloomsburg University of      Activity (Ex. H to oral     Irrelevant; Immaterial;
     D9                                                                                                              Admitted
                               Pennsylvania Library;              argument)                     Hearsay
                             Bradford County Historical
                                       Society
                  1908       Potter County Prothonotary    Petition and Appeal - In
                                                            re Appeal F.H. & C.W.
                                                             Goodyear and Central
    D10                                                      Pennsylvania Lumber        Irrelevant; Immaterial       Admitted
                                                           Company, No. 82, March
                                                            Term, 1908 (ECF No.
                                                                    104-3)
                  1908       Potter County Prothonotary     Evidence, In re Appeal
                                                            F.H. & C.W. Goodyear
                                                           and Central Pennsylvania
    D11                                                                                 Irrelevant; Immaterial
                                                            Lumber Company, No.                                      Admitted
                                                            82, March Term, 1908
                                                               (ECF No. 104-4)




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Trial Exhibit                                            Type of Document/Bates                 Objection
                  Date            Author/Source
     No.                                                           No.                (Authenticity/Admissibility)
                                                                                        Irrelevant; Immaterial;
                                                                                      Hearsay; and PGC reserves
                                                          First Annual Report of          the right to object to
                               Filed by Defendants to         CPLC filed by          admissibility depending upon    Admitted
    D12           1903
                                Document No. 108-1        Defendants as doc. No.       the purpose for which the
                                                                  108-1                materials are sought to be
                                                                                               introduced.

                5/22/1903                                Articles of Incorporation   Irrelevant; Immaterial; and
                                                         (ECF No. 107-4 to 107-5)      PGC reserves the right to
                                                                                         object to admissibility
    D13                                                                                                              Admitted
                                                                                     depending upon the purpose
                                                                                      for which the materials are
                                                                                        sought to be introduced.
                5/22/1903                                Certification to Auditor    Irrelevant; Immaterial; and
                                                                General of             PGC reserves the right to
                                                         Incorporation, May 22,          object to admissibility
    D14                                                                                                              Admitted
                                                                   1903              depending upon the purpose
                                                                                      for which the materials are
                                                                                        sought to be introduced.
                4/23/1904      CPLC (successor IDC)         Letter from F.W.
                                                                                       Irrelevant; Immaterial;
                                                         Simmons to McCauley,
    D15                                                                               Hearsay; and Incapable of      Admitted
                                                         Jr., Apr. 23, 1904 (ECF
                                                                                            authentication
                                                                No. 108-2)
                9/4/1905       CPLC (successor IDC)          Letter from A.E.
                                                                                       Irrelevant; Immaterial;
                                                          Borcher to McCauley,
    D16                                                                               Hearsay; and Incapable of      Admitted
                                                         Jr., Sept. 4, 1905 (ECF
                                                                                            authentication
                                                                No. 108-3)




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Trial Exhibit                                               Type of Document/Bates              Objection
                  Date             Author/Source
     No.                                                                No.             (Authenticity/Admissibility)
                12/19/1905      CPLC (successor IDC)            Letter from W.E.
                                                                                         Irrelevant; Immaterial;
                                                            Henderson to McCauley,                                     Admitted
    D17                                                                                 Hearsay; and Incapable of
                                                             Jr., Dec. 19, 1905 (ECF
                                                                                              authentication
                                                                    No. 108-4)
                  1906         James V. Brown Library          Boyd’s Directory of
                                                                                          Irrelevant; Immaterial;
    D18                             Williamsport            Williamsport 1906 (ECF                                     Admitted
                                                                                                  Hearsay
                                                                    No. 109-1)
                  1907         James V. Brown Library          Boyd’s Directory of
                                                                                          Irrelevant; Immaterial;
    D19                             Williamsport            Williamsport 1907 (ECF                                     Admitted
                                                                                                  Hearsay
                                                                    No. 109-2)
                  1908         James V. Brown Library          Boyd’s Directory of
                                                                                          Irrelevant; Immaterial;
    D20                             Williamsport            Williamsport 1908 (ECF                                     Admitted
                                                                                                  Hearsay
                                                                    No. 109-3)
                  1908       Potter County Prothonotary      Petition and Appeal, In
                                                            re Appeal of Central Pa.
    D21                                                       Lumber Co., No. 179,        Irrelevant; Immaterial
                                                                                                                       Admitted
                                                             June Term, 1908 (ECF
                                                                    No. 109-4)
                  1909         James V. Brown Library          Boyd’s Directory of
                                                                                          Irrelevant; Immaterial;
    D22                             Williamsport            Williamsport 1909 (ECF                                     Admitted
                                                                                                  Hearsay
                                                                    No. 109-5)
                  1908       Potter County Prothonotary     Evidence, In re Appeal of
                                                            Central Pa. Lumber Co.,                                    Admitted
    D23                                                                                   Irrelevant; Immaterial
                                                               No. 179, June Term,
                                                              1908 (ECF No. 109-6)
                  1910          United States Census        1910 Manuscript census
    D24                                                     schedule (ECF No. 110-        Irrelevant; Immaterial       Admitted
                                                                        7)




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Trial Exhibit                                               Type of Document/Bates              Objection
                  Date            Author/Source
     No.                                                                No.             (Authenticity/Admissibility)
                  1910      Potter County Prothonotary       Certiorari, In re Appeal
                                                             of Central Pa. Lumber
    D25                                                       Co., No. 273, January       Irrelevant; Immaterial       Admitted
                                                              Term, 1910 (ECF No.
                                                                       109-7)
                  1910      Pennsylvania State Archives            Paper Book of
                                                            Appellants, In re Appeal
                                                             of Central Pa. Lumber
    D26                                                                                   Irrelevant; Immaterial
                                                              Co., No. 273, January                                    Admitted
                                                              Term, 1910 (ECF No.
                                                                       109-8)
                11/2/1914        Calvin McCauley,              Declaration of Trust       Irrelevant; Immaterial;
    D27                                                                                                                Admitted
                                Jr./Federal Archives             (ECF No. 109-9)                  Hearsay
                                  Federal Archives             Appendix, Proctor v.
                                                               Sagamore Big Game
    D28                                                                                   Irrelevant; Immaterial       Admitted
                                                            Club, No. 12715 (3d Cir.)
                                                                (ECF No. 109-10)
                                  Public Records              McCauley Quitclaim
                                                            Deeds - Sullivan County
                                                            DB 34, P522; SC DB 36,
                                                            P. 223; LC DB 209/ Page
    D29                                                                                   Irrelevant; Immaterial       Admitted
                                                            34 LC DB 203, Page 269;
                                                             BC DB 300, Page 401;
                                                              219, LC DB 219, Page
                                                                        248
                3/27/1916      CPLC (successor IDC)          Letter from McCauley,
                                                               Jr. to L.M. Otto, Jr.,     Irrelevant; Immaterial;
    D30                                                                                                                Admitted
                                                            Mar. 27, 1916 (ECF No.         Hearsay; Authenticity
                                                                       110-1)



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Trial Exhibit                                               Type of Document/Bates            Objection
                   Date             Author/Source
     No.                                                              No.             (Authenticity/Admissibility)
                 5/15/1916       CPLC (successor IDC)       Letter from McCauley,
                                                             Jr. to L.M. Otto, Jr.,     Irrelevant; Immaterial;
    D31                                                                                                              Admitted
                                                            May 15, 1916 (ECF No.        Hearsay; Authenticity
                                                                     110-2)
                4/2/1913 and    James V. Brown Library         Williamsport Sun-         Irrelevant; Immaterial;
    D32                                                                                                              Admitted
                  4/4/1917           Williamsport               Gazette Articles                  Hearsay
                 1907-1921       PHT (ECF No. 130-2)             Proctor Trust           Irrelevant; Immaterial;
                                                                Correspondence         Hearsay; and PGC reserves
                                                             regarding McCauley            the right to object to
    D33                                                       (PROCTOR006797-         admissibility depending upon   Admitted
                                                                     6843)              the purpose for which the
                                                                                        materials are sought to be
                                                                                                introduced.
                 8/25/1920           CPLC; PHT               CPLC Map of Lands           Irrelevant; Immaterial;
                                                               (132-2; 133-11)         Hearsay; and PGC reserves
                                                                                           the right to object to    Admitted
    D34                                                                               admissibility depending upon
                                                                                        the purpose for which the
                                                                                        materials are sought to be
                                                                                                introduced.
                 1907-1930       PHT (ECF No. 130-2)             Proctor Trust
                                                              Correspondence with       Irrelevant; Immaterial;      Admitted
    D35
                                                             George Hill (133-14 to             Hearsay
                                                                     133-24)
                 6/15/1931         PGC Title Report           Letter from Potter to
                                                             Slautterback, June 15,    Irrelevant; Immaterial;       Admitted
    D36
                                                            1931 (ECF No. 153-4) Re   Hearsay; Improper opinion
                                                                Contract L-205




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Trial Exhibit                                            Type of Document/Bates                Objection
                  Date            Author/Source
     No.                                                           No.               (Authenticity/Admissibility)
                8/19/1931        PGC Title Report         Letter from Potter to      Irrelevant; Immaterial; and
                                                          CPLC, Aug. 19, 1931          PGC reserves the right to
                                                           (ECF No. 153-2) Re            object to admissibility    Admitted
    D37
                                                             Contract L-203          depending upon the purpose
                                                                                      for which the materials are
                                                                                        sought to be introduced.
                8/26/1931        PGC Title Report        Letter from A.F. Jones to   Irrelevant; Immaterial; and
                                                           Potter, Aug. 26, 1931       PGC reserves the right to
                                                           (ECF No. 153-3) Re            object to admissibility
    D38                                                                                                             Admitted
                                                              Contract L-203         depending upon the purpose
                                                                                      for which the materials are
                                                                                        sought to be introduced.
                  1904             John Moody              The Truth About The          Irrelevant; Immaterial;     NOT
    D39
                                                          Trusts (ECF No. 103-1)                Hearsay             admitted
                  1972            Thomas Taber                  Sunset Along
                                                                                       Irrelevant; Immaterial;      NOT
    D40                                                    Susquehanna Waters
                                                                                               Hearsay              admitted
                                                              (ECF No. 103-2)
                1905-1907      CPLC (successor IDC)       Josiah Haines Plat and
                                                          Ledger pages of CPLC        Authenticity; Irrelevant;
    D41                                                                                                             Admitted
                                                          Ledger Books (ECF No.        Immaterial; Hearsay
                                                              104-6 & 104-7))
                 9/5/57                                    Stipulation, Proctor v.
                                                            Sagamore Big Game                                       NOT
    D42                                                                                Irrelevant; Immaterial
                                                         Club, No. 12715 (3d Cir.)                                  admitted
                                                              (ECF No. 110-4)
                                                         Exhibit A to Complaint,
                                                           Pa. Game Comm’n v.
                                                         Thomas E. Proctor Heirs                                    Admitted
    D43                                                                                Irrelevant; Immaterial
                                                          Trust, No. 493 MD 2017
                                                         (excerpts) (ECF No. 104-
                                                                     5)

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Trial Exhibit                                             Type of Document/Bates             Objection
                  Date             Author/Source
     No.                                                            No.              (Authenticity/Admissibility)
                             Bradford County Historical    Declaration of Henry
    D44                                                                                Irrelevant; Immaterial       Admitted
                                      Society              Farley (ECF No. 96-2)
                             Bradford County Recorder      Declaration of Shirley
    D45                        and Register of Deeds      Rockefeller (ECF No. 96-     Irrelevant; Immaterial       Admitted
                                                                     8)
                            Pennsylvania State Archives   Declaration of Jonathan                                   Admitted
    D46                                                                                Irrelevant; Immaterial
                                                           Stayer (ECF No. 96-9)
                                                                                     Irrelevant; Immaterial; and
                                                                                       PGC reserves the right to
                                                           List of Unseated Lands
                              Bradford County, filed by                                  object to admissibility
    D47                                                     and Taxes Bradford                                      Admitted
                              Defendants to No. 104-1                                depending upon the purpose
                                                             County, 1906-1908
                                                                                      for which the materials are
                                                                                        sought to be introduced.
                1907-1908     James V. Brown Library       Newspaper Articles re        Irrelevant; Immaterial;     Admitted
    D48
                                                              McCauley, Jr.                     Hearsay
                             Bradford County Historical
    D49                                                   Map of Schrader Lands        Irrelevant; Immaterial       Admitted
                                Society / Greg Gass
                             Bradford County Historical       Recapitulation
                                      Society              Statement in Barclay
    D50                                                     Township (Ex. 52 to        Irrelevant; Immaterial
                                                                                                                    Admitted
                                                           Reply brief – ECF No.
                                                                   130-4
                                 Bradford County             Bradford County
                                                           Unseated Land Books
    D51                                                                                Irrelevant; Immaterial       Admitted
                                                                 Excerpts
                                                             (Demonstrative)




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Trial Exhibit                                         Type of Document/Bates             Objection
                Date            Author/Source
     No.                                                        No.            (Authenticity/Admissibility)
                1969       Bradford County Recorder                            Irrelevant; Immaterial; and
                                                        Deed of Exchange
                                   of Deeds                                      PGC reserves the right to
                                                        between PGC and
                                                                                   object to admissibility
    D52                                                County of Bradford                                     Admitted
                                                                               depending upon the purpose
                                                      DB 594 P 731 (ECF No.
                                                                                for which the materials are
                                                              145-1)
                                                                                  sought to be introduced.
                            James V. Brown Library      Newspaper Articles
                                                                                 Irrelevant; Immaterial;
    D53                                                   regarding C.H.                                      Admitted
                                                                                         Hearsay
                                                           McCauley Sr.




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